                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                at CHATTANOOGA

 MATTHEW E. WATSON, III,                    )
                                            )
 Plaintiff,                                 )
                                            )          Case No. 1:12-cv-71
 v.                                         )
                                            )          Judge Mattice
 VERIZON WIRELESS,                          )          Magistrate Judge Lee
                                            )
 Defendant.                                 )
                                            )


                                     JUDGMENT

        The Honorable Harry S. Mattice, Jr., United States District Judge, having entered

 an Order dismissing this action,

        It is ORDERED AND ADJUDGED that this action be, and hereby is,

 DISMISSED WITHOUT PREJUDICE.

        Dated at Chattanooga, Tennessee, this 20th day of May, 2013.



                                                       __ /s/ Debra C. Poplin____
                                                             Debra C. Poplin
                                                           CLERK OF COURT




Case 1:12-cv-00071-HSM-SKL Document 13 Filed 05/20/13 Page 1 of 1 PageID #: 33
